     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 1 of 22 Page ID #:227




 1   TRACY WILKISON
     Attorney for the United States, Acting Under
 2   Authority Conferred By 28 U.S.C. § 515
     LAWRENCE S. MIDDLETON
 3   Assistant United States Attorney
     Chief, Criminal Division
 4   KERRY L. QUINN (Cal. Bar No. 302954)
     Assistant United States Attorney
 5   Major Frauds Section
          1100 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-5423
          Facsimile : ( 213 ) 8 9 4 - 6 2 6 9
 8        E-mail:     Kerry. L. Quinn@usdoj.gov

 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                           UNITED STATES DISTRICT COURT

12                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

13    UNITED STATES OF AMERICA,              No. CR 17-776-GW-2

14              Plaintiff,                   PLEA AGREEMENT FOR DEFENDANT
                                             EDDIE HERNANDEZ
15                    v.

16    EDDIE HERNANDEZ,

17              Defendant.

18

19         1.    This constitutes the plea agreement between EDDIE HERNANDEZ

20    ("defendant") and the United States Attorney's Office for the Central

21    District of California (the "USAO") in the above-captioned case.

22    This agreement is limited to the USAO and cannot bind any other

23    federal, state, local, or foreign prosecuting, enforcement,

24    administrative, or regulatory authorities.

25                              DEFENDANT'S OBLIGATIONS

26         2.    Defendant agrees to:

27               a.   At the earliest opportunity requested by the USAO and

28    provided by the Court, appear and plead guilty to count eight of the
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 2 of 22 Page ID #:228




 1    indictment in United States v. Eddie Hernandez, No. 2:17-CR-776-GW-2,

 2    which charges defendant with health care fraud in violation of 18

 3    u.s.c.    § 1347.

 4                 b.     Not contest facts agreed to in this agreement.

 5                 c.     Abide by all agreements regarding sentencing contained

 6    in this agreement.

 7                 d.     Appear for all court appearances, surrender as ordered

 8    for service of sentence, obey all conditions of any bond, and obey

 9    any other ongoing court order in this matter.

10                 e.     Not commit any crime; however, offenses that would be

11    excluded for sentencing purposes under United States Sentencing

12    Guidelines    ("U.S.S.G." or "Sentencing Guidelines") § 4Al.2(c) are not

13    within the scope of this agreement.

14                 f.     Be truthful at all times with Pretrial Services, the

15    United States Probation Office, and the Court.

16                 g.     Pay the applicable special assessment at or before the

17    time of sentencing unless defendant lacks the ability to pay and

18    prior to sentencing submits a completed financial statement on a form

19    to be provided by the USAO.

20                 h.     Not seek the discharge of any restitution obligation,

21    in whole or in part,      in any present or future bankruptcy proceeding.

22                                THE USAO'S OBLIGATIONS

23         3.      The USAO agrees to:

24                 a.     Not contest facts agreed to in this agreement.

25                 b.     Abide by all agreements regarding sentencing contained

26    in this agreement.

27                 c.     At the time of sentencing, move to dismiss the

28    remaining counts of the indictment as against defendant.         Defendant

                                           2
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 3 of 22 Page ID #:229




 1    agrees, however, that at the time of sentencing the Court may

 2    consider any dismissed charges in determining the applicable

 3    Sentencing Guidelines range, the propriety and extent of any

 4    departure from that range, and the sentence to be imposed.

 5                d.   At the time of sentencing, provided that defendant

 6    demonstrates an acceptance of responsibility for the offense up to

 7    and including the time of sentencing, recommend a two-level reduction

 8    in the applicable Sentencing Guidelines offense level, pursuant to

 9    U.S.S.G. § 3El.1, and recommend and, if necessary, move for an

10    additional one-level reduction if available under that section.

11                e.   Recommend that defendant be sentenced to a term of

12    imprisonment no higher than the low end of the applicable Sentencing

13    Guidelines range, provided that the offense level used by the Court

14    to determine that range is 21 or higher and provided that the Court

15    does not depart downward in offense level or criminal history

16    category.    For purposes of this agreement, the low end of the

17    Sentencing Guidelines range is that defined by the Sentencing Table

18    in U.S.S.G. Chapter 5, Part A.

19                               NATURE OF THE OFFENSE

20         4.     Defendant understands that for defendant to be guilty of

21    the crime charged in count eight, that is, healthcare fraud,         in

22    violation of Title 18, United States Code, Section 1347, the

23    following must be true:

24                First, the defendant knowingly and willfully executed or

25         attempted to execute a scheme or plan to defraud a health care

26         benefit program or to obtain money or property owned by or under

27         the custody or control of a health care benefit program by means

28
                                           3
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 4 of 22 Page ID #:230




 1         of false or fraudulent pretenses, representations, or promises,

 2         or the omission of material facts;

 3               Second, the statements made or facts omitted as part of the

 4         scheme were material, that is, they had a natural tendency to

 5         influence, or were capable of influencing, a health care benefit

 6         program to part with money or property;

 7               Third, the defendant acted with the intent to defraud, that

 8         is, the intent to deceive or cheat;

 9               Fourth, the targeted insurance plan was a health care

10         benefit program, that is, a public or private plan or contract,

11         affecting commerce, under which any medical benefit, item, or

12         service is provided to any individual; and

13               Fifth, the scheme or plan was executed in connection with

14         the delivery of or payment for health care benefits, items, or

15         services.

16         For purposes of proving heal th care fraud:      (a) an act is done

17    knowingly if the defendant is aware of the act and does not act

18    through ignorance, mistake, or accident; and (b) an act is done

19    willfully if the defendant acts with a bad purpose, that is, with

20    general knowledge that the defendant's conduct is unlawful.          The

21    government is not required to prove that the defendant knew of the

22    specific statute that rendered the defendant's conduct unlawful.

23                             PENALTIES AND RESTITUTION

24         5.    Defendant understands that the statutory maximum sentence

25    that the Court can impose for a violation of Title 18, United States

26    Code, Section 1347, is: 10 years' imprisonment; a 3-year period of

27    supervised release; a fine of $250,000 or twice the gross gain or

28
                                           4
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 5 of 22 Page ID #:231




 1    gross loss resulting from the offense, whichever is greatest; and a

 2    mandatory special assessment of $100.

 3          6.   Defendant understands that defendant will be required to

 4    pay full restitution to the victim(s) of the offense to which

 5    defendant is pleading guilty.      Defendant agrees that, in return for

 6    the USAO's compliance with its obligations under this agreement, the

 7    Court may order restitution to persons other than the victim(s) of

 8    the offense to which defendant is pleading guilty and in amounts

 9    greater than those alleged in the count to which defendant is

10    pleading guilty.    In particular, defendant agrees that the Court may

11    order restitution to any victim of any of the following for any

12    losses suffered by that victim as a result:       (a)   any relevant conduct,

13    as defined in U.S.S.G. § 1Bl.3, in connection with the offense to

14    which defendant is pleading guilty; and (b)      any counts dismissed

15    pursuant to this agreement as well as all relevant conduct, as

16    defined in U.S.S.G. § 1Bl.3, in connection with those counts.          The

17    parties currently believe that the applicable amount of restitution

18    is approximately $860,514.86, but recognize and agree that this

19    amount could change based on facts that come to the attention of the

20    parties prior to sentencing.

21          7.   Defendant understands that supervised release is a period

22    of time following imprisonment during which defendant will be subject

23    to various restrictions and requirements.       Defendant understands that

24    if defendant violates one or more of the conditions of any supervised

25    release imposed, defendant may be returned to prison for all or part

26    of the term of supervised release authorized by statute for the

27    offense that resulted in the term of supervised release, which could

28

                                           5
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 6 of 22 Page ID #:232




 1    result in defendant serving a total term of imprisonment greater than

 2    the statutory maximum stated above.

 3            8.   Defendant understands that, by pleading guilty, defendant

 4    may be giving up valuable government benefits and valuable civic

 5    rights, such as the right to vote,       the right to possess a firearm,

 6    the right to hold office, and the right to serve on a jury.

 7    Defendant understands that once the Court accepts defendant's guilty

 8    plea, it will be a federal felony for defendant to possess a firearm

 9    or ammunition.     Defendant understands that the conviction in this

10    case may also subject defendant to various other collateral

11    consequences,    including but not limited to revocation of probation,

12    parole, or supervised release in another case, mandatory exclusion

13    from providing services for any federal health care benefit program

14    for at least five years, and suspension or revocation of a

15    professional license.     Defendant understands that unanticipated

16    collateral consequences will not serve as grounds to withdraw

17    defendant's guilty plea.

18            9.   Defendant understands that,    if defendant is not a United

19    States citizen, the felony conviction in this case may subject

20    defendant to: removal, also known as deportation, which may, under

21    some circumstances, be mandatory; denial of citizenship; and denial

22    of admission to the United States in the future.        The Court cannot,

23    and defendant's attorney also may not be able to, advise defendant

24    fully regarding the immigration consequences of the felony conviction

25    in this case.     Defendant understands that unexpected immigration

26    consequences will not serve as grounds to withdraw defendant's guilty

27    plea.

28

                                           6
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 7 of 22 Page ID #:233




 1                                    FACTUAL BASIS

 2          10.   Defendant admits that defendant is, in fact, guilty of the

 3    offense to which defendant is agreeing to plead guilty.         Defendant

 4    and the USAO agree to the statement of facts set forth in Exhibit A

 5    to this agreement and incorporated herein by reference is sufficient

 6    to support a plea of guilty to the charge described in this agreement

 7    and to establish the Sentencing Guidelines factors set forth in

 8    paragraph 12 below but is not meant to be a complete recitation of

 9    all facts relevant to the underlying criminal conduct or all facts

10    known to either party that relate to that conduct.

11                                 SENTENCING FACTORS

12          11.   Defendant understands that in determining defendant's

13    sentence the Court is required to calculate the applicable Sentencing

14    Guidelines range and to consider that range, possible departures

15    under the Sentencing Guidelines, and the other sentencing factors set

16    forth in 18 U.S.C. § 3553(a).      Defendant understands that the

17    Sentencing Guidelines are advisory only, that defendant cannot have

18    any expectation of receiving a sentence within the calculated

19    Sentencing Guidelines range, and that after considering the

20    Sentencing Guidelines and the other§ 3553(a) factors, the Court will

21    be free to exercise its discretion to impose any sentence it finds

22    appropriate up to the maximum set by statute for the crime of

23    conviction.

24         12.    Defendant and the USAO agree to the following applicable

25    Sentencing Guidelines factors:

26       Base Offense Level:                   6      [U.S.S.G. § 2Bl.l (a) (2)]

27       Specific Offense
         Characteristics
28
                                           7
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 8 of 22 Page ID #:234




 1        Intended loss between $3.5           +18   [U.S.S.G.   §   2Bl.1 (b) (1) (J)]
          million and $9.5 million
 2
          Acceptance of responsibility          -3               [U.S.S.G. § 3El.1]
 3
           Total Offense Level:                 21
 4

 5    The USAO will agree to a two-level downward adjustment for acceptance

 6    of responsibility (and, if applicable, move for an additional one-

 7    level downward adjustment under U.S.S.G. § 3El.l(b)) only if the

 8    conditions set forth in paragraph 3(d) are met and if defendant has

 9    not committed, and refrains from committing, acts constituting

10    obstruction of justice within the meaning of U.S.S.G. § 3Cl.1, as

11    discussed below.     Subject to paragraph 26 below, defendant and the

12    USAO agree not to seek, argue, or suggest in any way, either orally

13    or in writing, that any other specific offense characteristics,

14    adjustments, or departures relating to the offense level be imposed.

15    Defendant agrees, however, that if, after signing this agreement but

16    prior to sentencing, defendant were to commit an act, or the USAO

17    were to discover a previously undiscovered act committed by defendant

18    prior to signing this agreement, which act, in the judgment of the

19    USAO, constituted obstruction of justice within the meaning of

20    U.S.S.G. § 3Cl.1, the USAO would be free to seek the enhancement set

21    forth in that section and to argue that defendant is not entitled to

22    a downward adjustment for acceptance of responsibility under U.S.S.G.

23    §   3El. 1.

24           13.    Defendant understands that there is no agreement as to

25    defendant's criminal history or criminal history category.

26           14.    Defendant and the USAO reserve the right to argue for a

27    sentence outside the sentencing range established by the Sentencing

28

                                           8
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 9 of 22 Page ID #:235




 1    Guidelines based on the factors set forth in 18 U.S.C.                §   3553(a) (1),

 2    (a) ( 2) ,   (a) ( 3) ,    (a) ( 6) , and (a) ( 7 ) .

 3                                  WAIVER OF CONSTITUTIONAL RIGHTS

 4           15.     Defendant understands that by pleading guilty, defendant

 5    gives up the following rights:

 6                   a.         The right to persist in a plea of not guilty.

 7                   b.         The right to a speedy and public trial by jury.

 8                   c.         The right to be represented by counsel          and if

 9    necessary have the court appoint counsel -- at trial.                 Defendant

10    understands, however, that, defendant retains the right to be

11    represented by counsel -- and if necessary have the court appoint

12    counsel -- at every other stage of the proceeding.

13                   d.         The right to be presumed innocent and to have the

14    burden of proof placed on the government to prove defendant guilty

15    beyond a reasonable doubt.

16                   e.         The right to confront and cross-examine witnesses

17    against defendant.

18                   f.         The right to testify and to present evidence in

19    opposition to the charges,                including the right to compel the

20    attendance of witnesses to testify.

21                   g.         The right not to be compelled to testify, and,       if

22    defendant chose not to testify or present evidence,                to have that

23    choice not be used against defendant.

24                   h.         Any and all rights to pursue any affirmative defenses,

25    Fourth Amendment or Fifth Amendment claims, and other pretrial

26    motions that have been filed or could be filed.

27

28

                                                        9
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 10 of 22 Page ID #:236




 1                          WAIVER OF APPEAL OF CONVICTION

 2          16.   Defendant understands that, with the exception of an appeal

 3    based on a claim that defendant's guilty plea was involuntary, by

 4    pleading guilty defendant is waiving and giving up any right to

 5    appeal defendant's conviction on the offense to which defendant is

 6    pleading guilty.     Defendant understands that this waiver includes,

 7    but is not limited to, arguments that the statute to which defendant

 8    is pleading guilty is unconstitutional, and any and all claims that

 9    the statement of facts provided herein is insufficient to support

10    defendant's plea of guilty.

11                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

12          17.   Defendant agrees that, provided the Court imposes a term of

13    imprisonment within or below the range corresponding to an offense

14    level of 21 and the criminal history category calculated by the

15    Court, defendant gives up the right to appeal all of the following:

16     (a) the procedures and calculations used to determine and impose any

17    portion of the sentence;     (b) the term of imprisonment imposed by the

18    Court;   (c) the fine imposed by the Court, provided it is within the

19    statutory maximum;    (d) to the extent permitted by law, the

20    constitutionality or legality of defendant's sentence, provided it is

21    within the statutory maximum;     (e) the amount and terms of any

22    restitution order, provided it requires payment of no more than

23    $860,514.86;   (f) the term of probation or supervised release imposed

24    by the Court, provided it is within the statutory maximum; and

25     (g) any of the following conditions of probation or supervised

26    release imposed by the Court: the conditions set forth in General

27    Orders 318, 01-05, and/or 05-02 of this Court; the drug testing

28

                                          10
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 11 of 22 Page ID #:237




 1    conditions mandated by 18 U.S.C.     §§   3563(a) (5) and 3583(d); and the

 2    alcohol and drug use conditions authorized by 18 U.S.C.        §   3563(b) (7).

 3          18.   The USAO agrees that, provided (a) all portions of the

 4    sentence are at or below the statutory maximum specified above and

 5     (b) the Court imposes a term of imprisonment within or above the

 6    range corresponding to an offense level of 21 and the criminal

 7    history category calculated by the Court, the USAO gives up its right

 8    to appeal any portion of the sentence, with the exception that the

 9    USAO reserves the right to appeal the amount of restitution ordered

10    if that amount is less than $860,514.86.

11                            WAIVER OF COLLATERAL ATTACK

12          19.   Defendant also gives up any right to bring a post-

13    conviction collateral attack on the conviction or sentence, including

14    any order of restitution, except a post-conviction collateral attack

15    based on a claim of ineffective assistance of counsel, a claim of

16    newly discovered evidence, or an explicitly retroactive change in the

17    applicable Sentencing Guidelines, sentencing statutes, or statutes of

18    conviction.    Defendant understands that this waiver includes, but is

19    not limited to, arguments that the statute to which defendant is

20    pleading guilty is unconstitutional, and any and all claims that the

21    statement of facts provided herein is insufficient to support

22    defendant's plea of guilty.

23                        RESULT OF WITHDRAWAL OF GUILTY PLEA
24          20.   Defendant agrees that if, after entering a guilty plea

25    pursuant to this agreement, defendant seeks to withdraw and succeeds

26    in withdrawing defendant's guilty plea on any basis other than a

27    claim and finding that entry into this plea agreement was

28    involuntary, then (a) the USAO will be relieved of all of its
                                           11
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 12 of 22 Page ID #:238




 1    obligations under this agreement; and (b) should the USAO choose to

 2    pursue any charge that was dismissed as a result of this agreement,

 3    then (i) any applicable statute of limitations will be tolled between

 4    the date of defendant's signing of this agreement and the filing

 5    commencing any such action; and (ii) defendant waives and gives up

 6    all defenses based on the statute of limitations, any claim of pre-

 7    indictment delay, or any speedy trial claim with respect to any such

 8    action, except to the extent that such defenses existed as of the

 9    date of defendant's signing this agreement.

10                      RESULT OF VACATUR, REVERSAL OR SET-ASIDE

11          21.   Defendant agrees that if the count of conviction is

12    vacated, reversed, or set aside, both the USAO and defendant will be

13    released from all their obligations under this agreement.

14                            EFFECTIVE DATE OF AGREEMENT

15          22.   This agreement is effective upon signature and execution of

16    all required certifications by defendant, defendant's counsel, and an

17    Assistant United States Attorney.

18                                 BREACH OF AGREEMENT

19          23.   Defendant agrees that if defendant, at any time after the

20    effective date of this agreement, knowingly violates or fails to

21    perform any of defendant's obligations under this agreement ("a

22    breach"), the USAO may declare this agreement breached.         All of

23    defendant's obligations are material, a single breach of this

24    agreement is sufficient for the USAO to declare a breach, and

25    defendant shall not be deemed to have cured a breach without the

26    express agreement of the USAO in writing.        If the USAO declares this

27    agreement breached, and the Court finds such a breach to have

28    occurred, then:    (a) if defendant has previously entered a guilty plea

                                           12
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 13 of 22 Page ID #:239




 1    pursuant to this agreement, defendant will not be able to withdraw

 2    the guilty plea, and (b) the USAO will be relieved of all its

 3    obligations under this agreement.

 4          24.   Following the Court's finding of a knowing breach of this

 5    agreement by defendant, should the USAO choose to pursue any charge

 6    that was dismissed as a result of this agreement, then:

 7                a.   Defendant agrees that any applicable statute of

 8    limitations is tolled between the date of defendant's signing of this

 9    agreement and the filing commencing any such action.

10                b.   Defendant waives and gives up all defenses based on

11    the statute of limitations, any claim of pre-indictment delay, or any

12    speedy trial claim with respect to any such action, except to the

13    extent that such defenses existed as of the date of defendant's

14    signing this agreement.

15                c.   Defendant agrees that:      (i) any statements made by

16    defendant, under oath, at the guilty plea hearing (if such a hearing

17    occurred prior to the breach);      (ii)   the agreed to factual basis

18    statement in this agreement; and (iii) any evidence derived from such

19    statements, shall be admissible against defendant in any such action

20    against defendant, and defendant waives and gives up any claim under

21    the United States Constitution, any statute, Rule 410 of the Federal

22    Rules of Evidence, Rule ll(f) of the Federal Rules of Criminal

23    Procedure, or any other federal rule, that the statements or any

24    evidence derived from the statements should be suppressed or are

25    inadmissible.

26                      COURT AND PROBATION OFFICE NOT PARTIES

27          25.   Defendant understands that the Court and the United States

28    Probation Office are not parties to this agreement and need not

                                           13
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 14 of 22 Page ID #:240




 1    accept any of the USAO's sentencing recommendations or the parties'

 2    agreements to facts or sentencing factors.

 3            26.   Defendant understands that both defendant and the USAO are

 4    free to:      (a)   supplement the facts by supplying relevant information

 5    to the United States Probation Office and the Court,         (b)   correct any

 6    and all factual misstatements relating to the Court's Sentencing

 7    Guidelines calculations and determination of sentence, and (c)           argue

 8    on appeal and collateral review that the Court's Sentencing

 9    Guidelines calculations and the sentence it chooses to impose are not

10    error, although each party agrees to maintain its view that the

11    calculations in paragraph 12 are consistent with the facts of this

12    case.     While this paragraph permits both the USAO and defendant to

13    submit full and complete factual information to the United States

14    Probation Office and the Court, even if that factual information may

15    be viewed as inconsistent with the facts agreed to in this agreement,

16    this paragraph does not affect defendant's and the USAO's obligations

17    not to contest the facts agreed to in this agreement.

18            27.   Defendant understands that even if the Court ignores any

19    sentencing recommendation,        finds facts or reaches conclusions

20    different from those agreed to, and/or imposes any sentence up to the

21    maximum established by statute, defendant cannot,        for that reason,

22    withdraw defendant's guilty plea, and defendant will remain bound to

23     fulfill all defendant's obligations under this agreement.           Defendant

24    understands that no one           not the prosecutor, defendant's attorney,

25    or the Court -- can make a binding prediction or promise regarding

26    the sentence defendant will receive, except that it will be within

27    the statutory maximum.

28

                                             14
Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 15 of 22 Page ID #:241
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 16 of 22 Page ID #:242




 1    the terms of this agreement, and I voluntarily agree to those terms.

 2    I have discussed the evidence with my attorney, and my attorney has

 3    advised me of my rights, of possible pretrial motions that might be

 4    filed,     of possible defenses that might be asserted either prior to or

 5    at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),

 6    of relevant Sentencing Guidelines provisions, and of the consequences

 7    of entering into this agreement.           No promises, inducements, or

 8    representations of any kind have been made to me other than those

 9    contained in this agreement.      No one has threatened or forced me in

10    any way to enter into this agreement.           I am satisfied with the

11    representation of my attorney in this matter, and I am pleading

12    guilty because I am guilty of the charges and wish to take advantage

13    of the promises set forth in this agreement, and not for any other

14    reason."

15       >==:/:~-~--&:c
      EDDIE HERNANDEZ                   =              Date
                                                              l   c.::, ·   '1-..~ · I   f
16
      Defendant
17

18                        CERTIFICATION OF DEFENDANT'S ATTORNEY

19          I am EDDIE HERNANDEZ's attorney.          I have carefully and

20    thoroughly discussed every part of this agreement with my client.

21    Further, I have fully advised my client of his rights, of possible

22    pretrial motions that might be filed,          of possible defenses that might

23    be asserted either prior to or at trial, of the sentencing factors

24    set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines

25    provisions, and of the consequences of entering into this agreement.

26    To my knowledge: no promises, inducements, or representations of any

27    kind have been made to my client other than those contained in this

28    agreement; no one has threatened or forced my client in any way to

                                            16
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 17 of 22 Page ID #:243




 1    enter into this agreement; my client's decision to enter into this

 2    agreement is an informed and voluntary one; and the factual basis set

 3    forth in this agreement is sufficient to support my client's entry of

 4    a guilty plea pursuant to this agreement.

 5

 6
      Attorney for Defendant
 7    EDDIE HERNANDEZ

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           17
Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 18 of 22 Page ID #:244




                       EXHIBIT A
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 19 of 22 Page ID #:245




 1                         EXHIBIT A To P1ea Agreement for

 2                     Defendant Eddie Hernandez     ("defendant")

 3    BACKGROUND

 4           At all relevant times:

 5           A.    Defendant worked for the United Parcel Service ("UPS") as

 6    a driver out of a distribution center in Gardena, California.

 7    Defendant also owned and operated Eddie C. Hernandez Consulting,

 8    Inc.   ("Hernandez Consulting"), and maintained bank accounts in the

 9    name of Hernandez Consulting.

10           B.    Co-conspirator No. 1 ("CC-1") owned and operated a sleep

11    study clinic in Los Angeles, California under the name Atlas

12    Diagnostic Services, Inc.     ("Atlas") .

13           C.    UPS had established an employee health care benefit plan

14     (the "UPS Plan") to provide health care benefits to its employees

15    and employees' qualifying dependents.       The UPS Plan reimbursed

16    health care providers for health care services only if the services

17    had in fact been provided to UPS employees or their dependents and

18    then only if the services were medically necessary.

19           D.    The UPS Plan was a "health care benefit program" as

20    defined by 18 U.S.C. § 24, being a private plan, affecting commerce,

21    under which medical benefits, items, and services were provided to

22    individuals.

23    THE SCHEME TO DEFRAUD

24           From in or about January 2015, through in or about June 2016,

25    defendant knowingly, willfully, and with intent to defraud,

26    participated in a scheme to defraud the UPS Plan as to material

27    matters in connection with the delivery of and payment for health

28    care benefits, items, and services.
                                             1
                                                                     .   .   .   (0 L' \ ) (
                                                      Agreed and initialed:         ~
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 20 of 22 Page ID #:246




 1          The fraudulent scheme was carried out, in substance, in the

 2     following manner:

 3          A.     Defendant recruited UPS employees to participate in sleep

 4    study testing at Atlas by offering cash to UPS employees in exchange

 5    for participation in the sleep study testing,       as well as offering

 6    additional cash for bringing dependents and referring other co-

 7    workers.

 8          B.     Defendant recruited other UPS employees and their

 9    dependents    (the "patients")   for sleep study testing regardless of

10    whether it was prescribed or medically necessary, and knowing that

11    fraudulent insurance claims would be submitted using patients'

12    personal information.

13          C.     As a result of the fraudulent claims, checks were mailed

14    to Atlas and to UPS employees as payment on the fraudulent claims,

15    and at defendant's instruction, the UPS employees endorsed checks

16     (or remitted payments)   to Atlas, defendant, and Hernandez

17    Consulting, and defendant in turn transferred the payments that he

18    received to Atlas and CC-1.

19          D.     CC-1 transferred more than $544,000 into accounts that

20    defendant maintained in his own name and in the name of Hernandez

21    Consulting, both as payment to defendant for his recruiting services

22    and for defendant to make cash payments to other UPS employees who

23    went to Atlas for sleep study testing and who brought or referred

24    others.

25    VICTIM IMPACT

26          In total defendant's participation in the above described

27    scheme resulted in the submission of more than $4.1 million in

28
                                             2
                                                      Agreed and initialed:C 0      ~
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 21 of 22 Page ID #:247




 1    fraudulent claims to the UPS plan, and payment of approximately

 2    $860,514.86 on those fraudulent claims.

 3    EXECUTION OF THE SCHEME TO DEFRAUD

 4          On or about the date set forth below, within the Central

 5    District of California, and elsewhere, defendant executed and

 6    attempted to execute the fraudulent scheme described above,

 7    knowingly, willfully, and with the intent to defraud, by causing to

 8    be submitted the following false and fraudulent claim for sleep

 9    study testing purportedly provided to the individual identified

10    below:

11      COUNT       DATE CLAIM   CLAIM          CLAIMED       AMOUNT OF    PATIENT
                    SUBMITTED    NUMBER         DATE OF       CLAIM
12
                                                SERVICE
13      EIGHT       1/27/2015     15031259463   1/24/2015     $10,500      A.P.

14

15
                                       *    *     *
16

17                              CERTIFICATION OF DEFENDANT
18          I have read this STATEMENT OF FACTS IN SUPPORT OF PLEA

19    AGREEMENT ("statement of facts")     in its entirety.      I have had enough

20    time to review and consider this statement of facts, and I have

21    carefully and thoroughly discussed every part of it with my

22    attorney.     I agree that this statement of facts is accurate and

23    correct, and is sufficient to support pleas of guilty to the charges

24    described in the plea agreement and to establish the Sentencing

25    Guidelines factors set forth in paragraph 12 of the plea agreement.
26

27
                                                      Date
28      Defendant
                                            3
                                                        Agreed and initialed:(o#('.1
     Case 2:17-cr-00776-GW Document 58 Filed 10/26/18 Page 22 of 22 Page ID #:248




 1                      CERTIFICATION OF DEFENDANT'S ATTORNEY

 2          I am EDDIE HERNANDEZ's attorney.      I have carefully and

 3    thoroughly discussed every part of this statement of facts with my

 4    client and agree that it is sufficient to support pleas of guilty to

 5    the charges described in the plea agreement and to establish the

 6    Sentencing Guidelines factors set forth in paragraph 12 of the plea

 7

 8
        CHRIST
 9      Deputy Fe       Public Defender
        Attorney for Defendant
10      EDDIE HERNANDEZ
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            4
                                                      Agreed and initialed:CO
